Case 2:04-cr-20512-SHl\/| Document 39 Filed 06/02/05 Page 1 of'-2 PagelD 37

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ROBERT Fi, Dl `I`FiOLlO
UNlTED STATES OF AlVlEFllCA, v(i:;Ll§;Rc§¢ Ltjt§ gliisr:irlnglg
Plaintiff,
VS.

CR. NO. 04-205‘|2-B
MUJAH|D MUHAl\/HVIAD,

Defendant.

OF{DEFI ON CONT|NUANCE AND SPECIFY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

This cause came on for a report date on May 31 , 2005. At that time, counsel for the

defendant requested a continuance of the June 6, 2005 trial date in order to allow for
disposition of pending motionsl
The Court granted the request and reset the trial date to duly 5, 2005 with a report

date of Thursdav. June 23. 2005. at 2:00&!11., in Courtroom 1. 11th F|oor of the
Federal Building, l\/lernphis, TN.

The period from June 17, 2005 through July 15, 2005 is excludable under 18

U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

iTis soonoEaEDthis 251 day f ne,2005.

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This door merit entered on ms docket heat in compliance

with R.iie 55 and/or serial rach on _€L“_S_Q§__

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
ease 2:04-CR-205 12 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

